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                          UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF MICHIGAN, SOUTHERN DIVISION

EMILY DAHL, HANNAH REDOUTE,
BAILEY KORHORN, MORGAN
OTTESON, JAKE MOERTL, KIA BROOKS,                       Case No. 1:21-cv-757
AUBREE ENSIGN, REILLY JACOBSON,
TAYLOR WILLIAMS, KAELYN PARKER,                         Hon. Paul L. Maloney
ANNALISE JAMES, MAXWELL HUNTLEY,
SIDNEY SCHAFER, DANIELLE NATTE,
NICOLE MOREHOUSE, and KATELYN
SPOONER,

        Plaintiffs,

v.

THE BOARD OF TRUSTEES OF
WESTERN MICHIGAN UNIVERSITY,
EDWARD MONTGOMERY, President of WMU,
KATHY BEAUREGARD, WMU Athletic Director,
and TAMMY L. MILLER, Associate Director of
Institutional Equity,

        Defendants.
____________________________________________________________________

                      DEFENDANTS’ MOTION FOR STAY OF INJUNCTION

                        **EXPEDITED CONSIDERATION REQUESTED**


        Pursuant to Fed. R. Civ. P. 62(d) the Defendants move for an order staying the

preliminary injunction entered in this matter on September 13, 2021, pending resolution of

the appeal that has been taken from the that Order. This motion is based on the arguments

and legal authorities contained in the Brief in Support filed with this motion.

        Expedited consideration is requested to allow resolution of the issue, either in this

Court or in the Court of Appeals, as soon as possible.
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                                   Respectfully submitted,


DATED: September 22, 2021          PLUNKETT COONEY


                                   BY:___/s/Michael S. Bogren _________________
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